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                                                                                 SUPPRESSED
                                                                                        FILED
                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI                             FEB 27 2020
                                   EASTERN DIVISION
                                                                                    U. S. DISTRICT COURT
                                                                                  EASTERN DISTRICT OF MO
UNITED STATES OF AMERICA,                            )                                     ST.LOUIS
                                                     )
            Plaintiff,                               )
                                                     )
v.                                                   )
                                                     )      4:20CR00135 SRC/SPM
LAWRENCE R. ARNO WITZ,                               )
                                                     )
            Defendant.                               )

                                         INDICTMENT

            THE GRAND JURY CHARGES:

                                          COUNTl
                                         MAIL FRAUD

     A. INTRODUCTION

       At all times relevant to the Indictment:

       1.        Defendant LAWRENCE             R.       ARNOWITZ    (hereinafter referred to     as

"ARNOWITZ") was Alderman of the          12th   Ward in the City of St. Louis, Missouri, having been

first elected during 2011.

       2.        On or about January 18, 2011, defendant ARNOWITZ organized and registered

with the Missouri Ethics Commission his campaign committee, "Committee to Elect Larry

Amowitz."      On or about September 2, 2011, following his initial election to the St. Louis Board

ofAldermen, defendant ARNOWITZ changed the name of his campaign corllinihee to "Friends

of Larry Amowitz," formally amending the name with the Missouri Ethics Commission.

       3.        Defendant ARNOWITZ maintained a bank account for the "Friends of Larry

Amowitz" campaign committee at Midwest BankCentre in St. Louis, Missouri, account number

XX:XX8814.       Defendant ARNOWITZ was an authorized signatory on that bank account, and
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had complete access to the account and funds within that account. Defendant ARNOWITZ

maintained a primary personal bank account at St. Louis Community Credit Union, account

number XXXXX:XX0074.         Defendant ARNOWITZ was an authorized signatory on that bank

account, and had complete access to the account and funds within that account.

   B. SCHEME TO DEFRAUD

       4.      Beginning on or about June 1, 2015 and continuing through on or about February

13, 2019, both dates being approximate and inclusive, in the Eastern District of Missouri and

elsewhere, the defendant,

                                LAWRENCE R. ARNOWITZ,

devised, intended to devise, and knowingly participated in a scheme to defraud and to obtain

'money from donors to the "Friends of Larry Arnowitz" campaign committee by means of

materially false and fraudulent pretenses, representations, and promises.

       5.      It was a part of the scheme that, on one and more occas10ns, defendant

ARNOWITZ misled donors by falsely representing, and causing to be falsely represented, that

money contributions to the "Friends of Larry Amowitz" campaign committee would be used for

campaign and reelection purposes, when, in fact, defendant ARNOWITZ used a portion of the

money contributed by donors to the "Friends of Larry Arnowitz" campaign committee for his own

personal use and expenses.

       6.      It was a further part of the scheme that after fraudulently convincing constituents

to donate money to the "Friends of Larry Arnowitz" campaign committee, defendant

ARNO WITZ knowingly used monies in the "Friends of Larry Amowitz" campaign committee


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bank account for his own benefit in various ways, including but not limited to:   Using money in

the account to pay for his personal home mortgage; withdrawing funds from the account through

cash withdrawals; and, using money in the account to purchase items for his personal use.   From

time to time, ARNOWITZ made cash withdrawals from his "Friends of Larry Amowitz"

campaign committee bank account and deposited those cash funds in his personal bank account,

using those funds to pay for personal living expenses unrelated to any legitimate campaign and

reelection purpose.

       7.      It was a further part of the scheme that defendant ARNOWITZ acted to conceal

his scheme by filing false reports with the Missouri Ethics Commission, which failed to identify

one and more of his cash withdrawals from the "Friends of Larry Amowitz" campaign committee

bank account,' and which failed to identify payments made directly from the "Friends of Larry

Amowitz" campaign committee bank account which were made for his own personal use,

unrelated to any campaign or reelection purpose.

   C. THE MAILING

                                         COUNT ONE

       8.      On or about February 13, 2019, within the Eastern District of Missouri and

elsewhere, for the purpose of executing the   above-d~scribed   scheme to defraud and to obtain

money and property by means of false and fraudulent pretenses and representations, the defendant,

                                LAWRENCE R. ARNO WITZ,

knowingly mailed, or caused to be mailed, a cashier's check in the amount of $5,000.00, which

funds had been withdrawn by defendant from the "Friends of Larry Amowitz" campaign


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committee bank account, from St. Louis, Missouri to OCWEN Financial Services, located in

Dallas, Texas.   The cashier's check was a payment on defendant's personal home mortgage loan,

and unrelated to any legitimate campaign or reelection purpose.

       All in violation of Title 18, United States Code, Section 1341.

                                                    A TRUE BILL.



                                                    FOREPERSON
JEFFREY B. JENSEN
United States Attorney




HAL GOLDSMITH, #32984MO
Assistant United States Attorney




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